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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)




IN RE:

          Comfort Kani Thompson    *                        Case No.       18-22188
                                   *
                                   *                               Chapter        7
         Debtor                    *
*******************************
U.S. BANK NATIONAL ASSOCIATION,    *
NOT IN ITS INDIVIDUAL CAPACITY BUT *
SOLELY AS TRUSTEE NRZ PASSTHROUGH *
TRUST X                            *
                                   *
      Movant                       *
v.                                 *
                                   *
Comfort Kani Thompson              *
       (Debtor)                    *
                                   *
      Respondent                   *




     DEBTOR’S REPLY TO MOTION FOR RELIEF FROM AUTOMATIC STAY




         Comes now the Debtor/Respondent, Comfort Kani Thompson, by her counsel, James
C. Martin and for Reply to Motion for Relief From Automatic Stay, states as follows:

         1. The Respondent admits the allegations in Paragraphs 1-5.
         2. The Respondent denies the allegation in Paragraph 8.
         3. The Respondent either denies or is unable to admit or deny the remaining allegations
            in the Motion.
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     WHEREFORE for the reasons noted above, the Respondent prays the
Movant’s motion be DISMISSED.



                                         /s/ James C. Martin
                                         James C. Martin
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day October, 2018, a copy of this Debtor’s Reply
To Motion For Relief From Automatic Stay was sent via CM/ECF to Chapter 7 Trustee, Steven
H. Greenfeld and to Hope Blocton, Esq, BWW Law Group, LLC Attorneys for the Movant, at
bankruptcy@bww-law.com.
                                          /s/ James C. Martin
                                          James C. Martin
